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     Mary Moreno  v.  Circle K Stores No. 25SA134Supreme Court of ColoradoMay 19, 2025
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CERTIFICATION
      OF QUESTION OF LAW
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Does
      Colorado law recognize a public-policy exception to the
      at-will employment doctrine that allows an employee to bring
      a wrongful termination claim in the event the employee is
      terminated for actions taken in self-defense?
    